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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                               )
                                                     )
WILLIAM J. GRUVER and                                )
ROBERTA LYNN GRUVER,                                 )
                                                     )
                  Debtors.                           )
---------------------------------------------------- )   Case No. 1:20-cv-00229-SPB
                                                     )
WILLIAM K. GRUVER and                                )
ROBERTA LYNN GRUVER,                                 )   Bankruptcy Case No. 16-10241-TPA
                                                     )
                                    Plaintiffs,      )   Adversarial Proceeding No. 18-1025-GLT
                  v.                                 )
                                                     )
ROBERT KINCAID and FIRETECH, )
THE FIRE TECHNOLOGY PEOPLE, )
INC.,                                                )
                                                     )
                                    Defendants. )


                                        MEMORANDUM ORDER

         This civil action concerns a commercial dispute between Plaintiffs William K. Gruver

and Roberta Lynn Gruver ("Plaintiffs" or the "Gruvers").and Defendants Randy Kincaid 1 and

Firetech, the Fire Technology People, Inc. ("Firetech" and, collectively with Randy Kincaid,

"Defendants"). After sustaining fire damage to their home, Plaintiffs hired Firetech to remediate

the damage and refurbish their residence. A series of events culminated in Firetech abandoning

the project before it was completed, such that the Grovers' home is currently uninhabitable.




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 The Court's docket incorrectly identifies Firetech's co-Defendant as Ryan Kincaid (who is
Randy Kincaid's son). The Bankruptcy-Court's docket incorrectly identifies Firetech's co­
Defendant as "Robert Kincaid." As indicated, Randy Kincaid is the actual co-Defendant.
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Plaintiffs subsequently commenced litigation against the Defendants claiming, among other

things, alleged breach of contract.

       At times relevant to this litigation, Plaintiffs were debtors in a Chapter 13 proceeding

assigned to United States Bankruptcy Judge Thomas P. Agresti at Case No. 1:16-bk-10241.

After the Gruvers filed suit against the Defendants, Judge Agresti recused himself from the

adversarial proceeding and the matter was reassigned to United States Bankruptcy Judge

Gregory L. Taddonio.

       In May 2019, Judge Taddonio presided over a three-day bench trial. Because Judge

Taddonio viewed the Gruvers' lawsuit as a non-core proceeding that was "related to" the their

underlying bankruptcy case, and because the parties did not unanimously consent to the

Bankruptcy Court entering a final order, Judge Taddonio instead issued an extensive

Memorandum of Proposed Findings of Fact and Conclusions of Law. Both Plaintiffs and

Defendants filed objections to Judge Taddonio's proposed findings and conclusions. In addition,

both Plaintiffs and Defendants filed responses to the other side's objections.

       On August 11, 2020, the Clerk of the Bankruptcy Court issued a transmittal letter

notifying this Court of the adversarial proceeding and all relevant filings. See ECF No. 2. The

following week, the Clerk transmitted portions of the Bankruptcy Court record. ECF No. 3.

       No substantive filings were requested or received by this Court until October 16, 2020,

when Defendants unilaterally submitted a document styled "Appellees' Principal Brief and

Response to Appellants; Principal Brief." ECF No. 4. Therein, Defendants proffered arguments

in support of their objections to the Bankruptcy Court's proposed findings of fact and

conclusions of law. Defendants also requested that this Court dismiss the Plaintiffs' previously



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filed objections on the ground that "Appellants' principal briefwas due on or before September

18, 2020," and "Appellants failed to file a principal brief... .'' ECF No. 4 at 20.

       Two days later, Plaintiffs filed a response in which they asserted that Defendants were

incorrectly proceeding as ifthe instant case were an appeal from a final order or judgment ofthe

Bankruptcy Court when, in fact, this case calls for a de nova review ofthe Bankruptcy Court's

proposed findings offact and conclusion oflaw. Plaintiffs observed that, pursuant to Federal

Rule ofBankruptcy Procedure 9033, the District Court has wide discretion concerning the

manner of conducting its de nova review and '"may elect to utilize the transcript ofproceedings

or to take additional evidence in written or oral form to supplement the proceedings before the

bankruptcy judge."' ECF No. 5 at 1-2 (quoting 10 Collier on Bankruptcy ,i9033.11 (16th ed.

2020)). Plaintiffs represented that they intend to rely upon their "Limited Objections" to the

Bankruptcy Court's proposed findings and conclusions, as well as their response to the

Defendants' objections, subject to any further directives from this Court. Id. at 2.

       On October 19, 2020, Defendants filed a "Motion to Dismiss Appellants' Appeal with

Prejudice," along with a supporting brief. ECF No. 6 and 7. Therein, Defendants reiterated their

position that the Gruvers are the "Appellants" in this matter pursuant to Bankruptcy Rule 8016

and, as such, were required, under Bankruptcy Rule 8018, to serve their opening briefwithin

thirty days after receiving notice that the Bankruptcy Court had transmitted the supplemental

record to the District Court. In support oftheir position, Defendants pointed to the Court's

docket notice ofthe record transmittal, which stated that "briefing will be in accordance with

Bankruptcy Rule 8018, unless otherwise directed by the assigned [District] Judge. Appellant

Briefdue by 9/18/2020.'' See ECF No.6, ,r4. Because the Gruvers had not filed an opening

briefas "Appellants" by the September 18, 2020 deadline, Defendants asserted that the Gruvers

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were in violation of Bankruptcy Rule 8016, justifying dismissal of their "appeal." ECF No. 7 at

1-2.

        Plaintiffs filed a response and memorandum in opposition to Defendants' motion on

November 10, 2020. ECF Nos. 9 and 12. Plaintiffs maintained that the Defendants' argument

for dismissal is misguided because the underlying dispute is not currently postured for appellate

proceedings. Plaintiffs also offered substantive arguments in opposition to the Defendants'

objections, and in support of their own objections, to Judge Taddonio's proposed findings of fact

and conclusions of law.

        The next day, Defendants filed a "Motion to Strike Plaintiffs' (Appellants) Memorandum

of Law in Support of Response in Opposition to Defendants' (Appellees) Filing. ECF No. 10.

Defendants argued that the Grovers' responsive memorandum violates the Court's briefing order

in that it incorporates substantive arguments that go beyond the narrow issues addressed in

Defendants' motion to dismiss. Id.

        Plaintiffs responded to Defendants motion to strike on November 27, 2020. ECF No. 15.

In their response, Plaintiffs reiterated their position that the case is not postured for appellate

proceedings. To that end, they submitted a corrective docket entry accompanying the Court's

notice of transmittal of the Bankruptcy Court record which, unlike the original docket entry,

omitted any reference to the Bankruptcy Rules governing the appellate briefing process. See

ECF No. 15-2. Plaintiffs intimated that the Defendants had improperly filed an appellate brief as

a means of advancing substantive arguments that had not been requested by the Court. Under

these circumstances, Plaintiffs argued, they should not be deprived of an opportunity to provide

substantive response to the Defendants' arguments. Id.



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       Having fully considered the arguments presented by both Plaintiffs and Defendants, the

undersigned agrees that the instant civil action does not involve appellate proceedings and,

consequently, the briefing schedules contemplated by Federal Rules of Bankruptcy Procedure

8016 and 8018 do not apply. Rule 800l(a) is clear that the provisions of Part VIII of the Federal

Bankruptcy Rules "govern the procedure in a United States district court ...on appeal from a

judgment, order, or decree of a bankruptcy court." Fed.R.Bankr.P.8001(a). Here, however,

the Bankruptcy Court has not issued a final judgment, order, or decree -- only proposed findings

of fact and conclusions of law. This was appropriate given that the adversarial proceeding does

not involve a "core " bankruptcy proceeding and the parties did not unanimously consent to the

Bankruptcy Court's entry of a final order or judgment in the matter. See 28 U.S.C. §157(c)(l)

and (2).

        Consequently, as Plaintiffs correctly observe, the relevant procedure is found in Rule

9033 which, in its entirety, states:

        (a) Service
        In a proceeding in which the bankruptcy court has issued proposed findings of fact
        and conclusions of law, the clerk shall serve forthwith copies on all parties by mail
        and note the date of mailing on the docket.

        (b) Objections: time for filing
        Within 14 days after being served with a copy of the proposed findings of fact and
        conclusions of law a party may serve and file with the clerk written objections
        which identify the specific proposed findings or conclusions objected to and state
        the grounds for such objection.A party may respond to another party's objections
        within 14 days after being served with a copy thereof. A party objecting to the
        bankruptcy judge's proposed findings or conclusions shall arrange promptly for the
        transcription of the record, or such portions of it as all parties may agree upon or
        the bankruptcy judge deems sufficient, unless the district judge otherwise directs.

        (c) Extension of time
        The bankruptcy judge may for cause extend the time for filing objections by any
        party for a period not to exceed 21 days from the expiration of the time otherwise
        prescribed by this rule. A request to extend the time for filing objections must be

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       made before the time for filing objections has expired, except that a request made
       no more than 21 days after the expiration of the time for filing objections may be
       granted upon a showing ofexcusable neglect.

       (d) Standard of review
       The district judge shall make a de novo review upon the record or, after additional
       evidence, of any portion of the bankruptcy judge's findings of fact or conclusions
       of law to which specific written objection has been made in accordance with this
       rule. The district judge may accept, reject, or modify the proposed findings offact
       or conclusions of law, receive further evidence, or recommit the matter to the
       bankruptcy judge with instructions.

Fed. R. Bankr. P. 9033.

       As is evident from the Rule, once a bankruptcy court issues its proposed findings offact

and conclusions oflaw, no additional filings are contemplated beyond the parties' objections,

responses to objections, and those portions ofthe record that may be pertinent to a resolution of

the objections, unless the district court indicates otherwise. Therefore, the Grovers were not

required to submit a "principal" or "opening" brief- or any other type offiling, for that matter -

absent 'some type ofdirective from this Court. Defendants' motion to dismiss Plaintiffs

"appeal" is misguided, inasmuch as this civil action does not involve an "appeal" from any final,

appealable ruling by the Bankruptcy Court, nor have Plaintiffs failed to comply with the

procedural rules governing these proceedings. Moreover, Defendants' motion to strike the

Plaintiffs' filing at ECF No. 12 is unfounded in view ofthe fact that Plaintiffs' unsolicited

arguments in ECF No. 12 did nothing more than proffer a response to the unsolicited arguments

previously presented by Defendants in their "appellate brief." Based upon the foregoing reasons,

the following Order is entered:


       NOW, this 25th day ofMay, 2021, IT IS ORDERED that Defendants' "Motion to

Dismiss Appellants' Appeal with Prejudice," ECF No. [6], shall be, and hereby is, DENIED.


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        IT IS FURTHER ORDERED that Defendants' "Motion to Strike Plaintiffs' (Appellants)

Memorandum of Law in Support of Response in Opposition to Defendants' (Appellees) Filing,"

ECF No. 10, shall be, and hereby is, DENIED.

        The Court is in the process of reviewing the parties' objections and responses to the

Bankruptcy Court's proposed findings of fact and conclusions of law and will advise the parties,

in due course, if further filings or evidence is required.




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                                                              Susan Paradise Baxter
                                                              United States District Judge




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